       Case 2:20-cv-01402-GJP        Document 86    Filed 02/16/21   Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 PATRICK MCDERMID, individually and
 on behalf of all others similarly situated,

                       Plaintiff,                        CIVIL ACTION
                                                         NO. 20-01402
            v.


 INOVIO PHARMACEUTICALS, INC., et
 al.,
                       Defendants.



                                        ORDER

      AND NOW, this 16th day of February 2021, upon consideration of Defendants’

Motion to Dismiss, (ECF No. 72), Plaintiffs’ Response, (ECF No. 80), and Defendants’

Reply, (ECF No. 83), it is ORDERED that Defendants’ Motion is GRANTED in part

and DENIED in part. Specifically:

      1. The Court DISMISSES with prejudice those claims in Counts I and II

          based upon the Defendants’ April 30 and June 30, 2020 press releases; and

      2. The Court DENIES Defendants’ Motion to Dismiss Counts I and II as to all

          other statements.

      It is further ORDERED that, upon consideration of Defendants’ Request for

Judicial Notice, (ECF No. 73), Plaintiffs’ Response, (ECF No. 81), and Defendants’

Reply, (ECF No. 84), the Motion is GRANTED in part and DENIED in part. The

Court GRANTS the Motion as to Exhibits A–L, N–O and U–V and DENIES the

Motion as to Exhibits M and P–T.




                                               1
Case 2:20-cv-01402-GJP   Document 86   Filed 02/16/21   Page 2 of 2




                                         BY THE COURT:


                                          /s/ Gerald J. Pappert
                                         ________________________
                                         GERALD J. PAPPERT, J.




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